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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

                                             )
Rudolph Technologies, Inc., a Delaware       ) Case No.: 05-CV-01396 (JRT/FLN)
corporation,                                 )
                                             )
                    Plaintiff,               )
                                             )
v.                                           )
Camtek Ltd., a foreign corporation,          )
                                             )
                    Defendant.               )
                                             )

  DECLARATION OF THOMAS R. JOHNSON IN SUPPORT OF PLAINTIFF
 RUDOLPH TECHNOLOGIES, INC.’S MEMORANDUM IN SUPPORT OF ITS
          MOTION TO EXECUTE ON SUPERSEDEAS BOND


I, Thomas R. Johnson, declare and state as follows:

      1.     I am an attorney at Merchant & Gould, P.C., counsel for Plaintiff Rudolph

Technologies, Inc. (“Rudolph”) in the above-captioned matter. I make this declaration on

my own information, knowledge and belief.

      2.     I am admitted to practice law in the State of Minnesota and in this Court.

      3.     Attached as Exhibit A is a true and correct copy of supersedeas bond no.

09185259, executed by principal Camtek Ltd. (“Camtek”) and surety Zurich American

Insurance Company (“Zurich”). This bond was filed with the Court in this matter on

March 10, 2015 pursuant to an Order dated March 5, 2015. (See Dkt. Nos. 1027, 1030.)

      4.     Rudolph has received no payments from Camtek for the February 10, 2015

judgment in this case.
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I declare under penalty of perjury that the foregoing is true and correct.



Dated: March 14, 2016                      s/Thomas R. Johnson
                                           Thomas R. Johnson
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                    EXHIBIT A
      CASE
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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                                                                                        . ,...,\,
                                                                                              -,r
                                                      BOND NO. 09185259


                                              )
August Technology Corporation, and            )
Rudolph Technologies, Inc.,                   )
                                              )
                     Plaintiffs,
                                              )
                                                  Case No.: 05-CV-01396 (JRT/FLN)
                                              )
v.
                                              )
Camtek Ltd.,                                  )
                                              )
        Defendant.                            )
~~~~~~~~~~~~~~~~ )


    We, Camtek Ltd., as principal, and Zurich American Insurance Company, as
surety, are held and firmly bound unto Rudolph Technologies, Inc. in the
maximum aggregate sum of $15,000,000.00, to be paid to Rudolph Technologies,
Inc., its successors, executors, administrators and assigns; to which payment, to be
made, we bind ourselves, our heirs, executors, and administrators, jointly and
severally by this document.
    The Court has ordered a stay of execution of or any proceedings to enforce the
judgment rendered in this action pending the disposition of the appeal of Camtek
Ltd. from the judgment for Rudolph Technologies, Inc., provided that Camtek Ltd.
give a bond in the maximum aggregate sum of $15,000,000.00, conditioned for the
satisfaction of the judgment in full with interest, costs and damages for delay, if
the judgment is finally sustained.
    The condition of this obligation is such, that if Camtek Ltd. shall prosecute the
appeal to effect and shall satisfy the judgment in full together with interest and
costs if for any reason the appeal is denied, or shall satisfy in full such
modification of the judgment and costs and interest as may be finally determined
by a final , unappealable judgment, then this obligation is to be void; otherwise to
remain in full force and effect. In no event shall the liability of the surety exceed
the maximum aggregate penal sum of this bond.
    Provided, however, that regardless of the number of years this bond is in force,
the liability of the surety shall not be cumulative and shall not exceed the
maximum penal sum set forth above.
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In Presence of

                                               By:   ~~~...£._.:.._~7-#--~""""'-""""'"



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                                                                          +o..J-
                                                                      ~c,~o..\f: o ~ Cca.,t.\(-el
                                         Zurich American Insurance Company             L-hD . /


                                         By:   11-:;;_,t~
Witness, Vivian Carti                          ~ia      Farrell,   Attorney-in-Fact
    CASE
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                        ACKNOWLEDGEMENT OF SURETY




STATE OF       NEW YORK

CITY OF        NEW YORK         ) SS:

COUNTY OF      NEW YORK         )



On this 61h day of March in the year 2015, before me personally came to me known, who, being
by me duly sworn, did depose and say that Cynthia Farrell he/she resides in New York, New
York that he/she is the Attorney-in-Fact of Zurich American Insurance Company the corporation
described in and which executed the above instrument; and that he/she signed his/her name
thereto by order of the Board of Directors of said Corporation.




                                        ~~kaL ~{JL,
                                        Notary Pu lie or Commissioner of Deeds

                                                 ---      - --   - - - - - - -
                                             ~        EVMGELMAL. ~
                                             I     Notary Public • Stitt of New York
                                             I
                                                           NO. 01004789474
                                                    Qualified in Westchester CounJy       a
                                             t
                                                                                    q~
                                                 My CommiHion Ellpires 1 / 1 ii;Ji. o I
                                                 - - - -     -   - -    -   -   - - -
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 I:



                                               PRINCIPAL'S ACKNOWLEDGMENT

                State of       />'/ /t\.fAJ /£ s orA


                County of tf£141AJE p,,j

                   ?/          L
               On v /~'t..o 1..s- before me,
                                                      6,..eo.oYyM.
                                                           IJ c.-,,.,c. kn•.., personally appeared
  W •(..~,A "1 F. l"f    e>"
                         .e ttt ..,..,.,., who proved to me on the basis of satisfactory evidence to be the
a..r Al+or""   person(s) whose name(s) isftttoe. subscribed to the within instrument and
 ,~~ ~... J-
            7  acknowledged to me that he}sRe/tR e'y'-executed the same in hisfherfd~e i r
So \e(y o"'    authorized capacity~ and that by his/h8r/tR eil' signaturefst'on the instrument
~€~'"-t~ ~ the personf*1 or the entity upon behalf of which the perso ~ cted, executed
c""""' +e k.,  the instrument.
 <....~.(
                I certify under PENALTY OF PERJURY under the laws of the State of         /111/VN'E: ~dlr(
                that the foregoing paragraph is true and correct.

                WITNESS my hand and official seal.




                (seal)         '"'i -   "°' -l '>'   Signature   .)\k ~
                CASE
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                                            ZURICH AMERICAN INSURANCE COMPANY
                                      COLONIAL AMERICAN CASUALTY AND SURETY COMPANY
                                         FIDELITY AND DEPOSIT COMPANY OF MARYLAND
                                                     POWER OF ATTORNEY

KNOW ALL MEN BY THESE PRESENTS: That the ZURICH AMERICAN INSURANCE COMPANY, a corporation of the State of New
York, the COLONIAL AMERICAN CASUALTY AND SURETY COMPANY, a corporation of the State of Maryland, and the FIDELITY
AND DEPOSIT COMP ANY OF MARYLAND a corporation of the State of Maryland (herein collectively called the "Companies"), by
GERALD F. HALEY, Vice President, in pursuance of authority granted by Article V, Section 8, of the By-Laws of said Companies, which
are set forth on the reverse side hereof and are hereby certified to be in full force and effect on the date hereof, do hereby nominate,
constitute, and appoint Vivian CARTI, Debra A. DEMING, Cynthia FARRELL, Sandra DIAZ, Jessica IANNOTTA, Annette
LEUSCHNER, Edward REILLY, Kelly O'MALLEY and Evangelina L. DOMINICK, all of New York, New York, EACH its true
and lawful agent and Attorney-in-Fact, to make, execute, seal and deliver, for, and on its behalf as surety, and as its act and deed: any and all
bonds and undertakings, and the execution of such bonds or undertakings in pursuance of these presents, shall be as binding upon said
Companies, as fully and amply, to all intents and purposes, as if they had been duly executed and acknowledged by the regularly elected
officers of the ZURICH AMERICAN INSURANCE COMP ANY at its office in New York, New York., the regularly elected officers of the
COLONIAL AMERICAN CASUALTY AND SURETY COMPANY at its office in Owings Mills, Maryland., and the regularly elected
officers of the FIDELITY AND DEPOSIT COMP ANY OF MARYLAND at its office in Owings Mills, Maryland., in their own proper
persons.

     The said Vice President does hereby certify that the extract set forth on the reverse side hereof is a true copy of Article V, Section 8, of
the By-Laws of said Companies, and is now in force.

   IN WITNESS WHEREOF, the said Vice-President has hereunto subscribed his/her names and affixed the Corporate Seals of the said
ZURICH AMERICAN INSURANCE COMPANY, COLONIAL AMERICAN CASUALTY AND SURETY COMPANY, and
FIDELITY AND DEPOSIT COMPANY OF MARYLAND, this 18th day of November, A.D. 2014.
                                                                                                                     ATTEST:

                                                                                                  ZURICH AMERICAN INSURANCE COMPANY
                                                                                      COLONIAL AMERICAN CASUALTY AND SURETY COMPANY
                                                                                            FIDELITY AND DEPOSIT COMPANY OF MARYLAND




By:


         Assistant Secretary                                                                          Vice President
         Eric D. Barnes                                                                               Gerald F. Haley
State of Maryland
City of Baltimore
     On this 18th day of November, A.D. 2014, before the subscriber, a Notary Public of the State of Maryland, duly commissioned and qualified, GERALD
F. HALEY, Vice President, and ERIC D. BARNES, Assistant Secretary, of the Companies, to me personally known to be the individuals and officers
described in and who executed the preceding instrument, and acknowledged the execution of same, and being by me duly sworn, deposeth and saith, that
he/she is the said officer of the Company aforesaid, and that the seals affixed to the preceding instrument are the Corporate Seals of said Companies, and that
the said Corporate Seals and the signature as such officer were duly affixed and subscribed to the said instrument by the authority and direction of the said
Corporations.




                                                              Maria D. Adamski, Notary Public
                                                              My Commission Expires: July 8, 2015




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                                             EXTRACT FROM BY-LAWS OF THE COMPANIES

     "Article V, Section 8, Attorneys-in-Fact. The Chief Executive Officer, the President, or any Executive Vice President or Vice President
may, by written instrument under the attested corporate seal, appoint attorneys-in-fact with authority to execute bonds, policies,
recognizances, stipulations, undertakings, or other like instruments on behalf of the Company, and may authorize any officer or any such
attorney-in-fact to affix the corporate seal thereto; and may with or without cause modify of revoke any such appointment or authority at any
time."
                                                                   CERTIFICATE

     I, the undersigned, Vice President of the ZURICH AMERICAN INSURANCE COMP ANY, the COLONIAL AMERICAN
CASUALTY AND SURETY COMPANY, and the FIDELITY AND DEPOSIT COMPANY OF MARYLAND, do hereby certify that the
foregoing Power of Attorney is still in full force and effect on the date of this certificate; and I do further certify that Article V, Section 8, of
the By-Laws of the Companies is still in force.

    This Power of Attorney and Certificate may be signed by .facsimile under and by authority of the following resolution of the Board of
Directors of the ZURICH AMERICAN INSURANCE COMPANY at a meeting duly called and held on the 15th day of December 1998.

     RESOLVED: "That the signature of the President or a Vice President and the attesting signature of a Secretary or an Assistant Secretary
and the Seal of the Company may be affixed by facsimile on any Power of Attorney... Any such Power or any certificate thereof bearing such
facsimile signature and seal shall be valid and binding on the Company."

    This Power of Attorney and Certificate may be signed by facsimile under and by authority of the following resolution of the Board of
Directors of the COLONIAL AMERICAN CASUALTY AND SURETY COMPANY at a meeting duly called and held on the 5th day of
May, 1994, and the following resolution of the Board of Directors of the FIDELITY AND DEPOSIT COMPANY OF MARYLAND at a
meeting duly called and held on the 10th day of May, 1990.

        RESOLVED: "That the facsimile or mechanically reproduced seal of the company and facsimile or mechanically reproduced signature
of any Vir~-President, Secretary, or Assistant Secretary of the Company, whether made heretofore or hereafter, wherever appearing upon a
c.:.:rtif fl.:! c0py of any power of attorney issued by the Company, shall be valid and binding upon the Company with the same force and effect
25 though manually affixed.


        ~ TJ:STIM~       WHEREOF, I have hereunto subscribed my name and affixed the corporate seals of the said Companies,
thi;;   w_·""d_ ay of   A C-<'   b       ,
                                       20Q.




                                                                                                        Thomas 0 . McClellan, Vice President
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                             ZURICH AMERICAN INSURANCE COMPANY
                                   COMPARATIVE BALANCE SHEET
                 ONE LIBERTY PLAZA, 165 BROADWAY, 32ml FLOOR, NEW YORK, NY 10006
                              As of December 31, 2013 and Dece111bc1· 31, 2012

                                                                             1213112013                       12/3112012
    Ass els
        Bonds                                                           $    18,990,565,123             $     18,907 ,466,866
        Preferred Stock
        Common Stock                                                          2,411 ,755,638                   2, 123,025,432
        OLhcr Invested Assets                                                 2,505,133,631                    2,035,077,824
        Short-term Investments                                                  327,019,081                       126,053,209
        Receivable for securities                                               123,767,865                       134,410,839
        Cash and cash equivalents                                               (65,045,469)                     728,298, JI 5
        Securities lending reinvested collateral assets                         208,060,537                      225,335,750
        Employee Trust for Deferred Compensation Pinn                           142,420,097                       130 493 778
            Total Cash and Invested Assets                              $    24,643,676,503             $     24,410,161,814

        Premiums Receivable                                             $     3,358,946, I 05           $      3,649,247,239
        Funds Held with Reinsurers                                                2,383,155                        3,681 ,443
        Reinsurance Recoverable                                                 391,812,478                      215,451,507
        Accnied Investment Income                                               113,886,701                      121,729,727
        Federal Income Tax Recoverable                                          940,033,456                      930,267,73 1
        Due from Affiliates                                                     183,852,738                      187,274,289
        Other Assets                                                            549,410,052                      493 ,265,075
           Total Assets                                                 $    30,184,001,188             $     30,011,078,824

    J,iabilities and Polic)!ltolders' Sur[!lus
    Liabilities:
        Loss and LAE Reserves                                           $    13,894 ,112,327            $     14,244,436,264
        Unearned Premium Reserve                                              4,321 ,146,577                   4, 159,670,241
        Funds Held with Reinsurers                                              185,460,548                      212,412,675
        Loss In Course of Payment                                               357,922,606                      408, 170, 112
        Commission Reserve                                                       68, 132,284                       64,038,359
        Federal Income Tax Payable                                              290, 773,995                       16,190,044
        Remittances and Items Unallocated                                       111,710,550                       196,410,982
        Payable to parent, subs and affiliates                                  154,428,297                        57,540,814
        Provision for Reinsurance                                                43,942,761                        66,649,220
        Ceded Reinsurance Premiums Payable                                      807,651,125                      551 ,510,878
        Securities Lending Collateral Liability                                 208,060,537                      225,335,750
        Other Liabilities                                                     1,942,241 242                    2, 166,453, 164
             Total Liabilities                                          $    22,385,582,849             $     22,368,81 8,502

    Policyholders' Surplus:
        Common Capital Stock                                            $         5,000,000             $          5,000,000
        Paid-In and Contributed Surplus                                       4,394, 131 ,321                  4,394,131,321
        Surplus Notes                                                                                            430,000,000
        Special Surplus Funds                                                    34,865,000                       43,259,000
        Cumulative Unrealized Gain                                              505, 136,565                     331 ,857 ,594
        Unassigned Surplus                                                    2,859,285,454                    2,438.012,408
            Total Policyholders' Surplus                                s     7,798,418,339             $      7,642,260,323

                 Tot1l Liabilities and Policyholders' Surplus           s    30,184,001,188             $     30,011 ,078,824




    J, Dennis F. Kerrigan, Corporate Secretary of ZURICH AMERICAN INSURANCE COMPANY do hereby certify
    that the foregoing statement is n correct exhibit of the assets and liabilities of the said Company, on the
    31st day of December, 2013, according to the best of my information, o vledge and belief.




    State of Illinois
    County of Cook                                              } SS:

    Subscribed and sworn to, before me, a Notary Public oflhe State of Illinois, in the City of Schaumburg,
    this 15th day of March, 2014 .



                    OFFICIAL SEAL                                                                               Notaiy public
                   DARRYL JOINER
            Notary Public • State of Illinois
         My Commission Expires May 3, 20 14
